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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:20−cr−00299
                                                          Honorable Robert M. Dow Jr.
Hardy Lee Browner
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 2, 2020:


        MINUTE entry before the Honorable Robert M. Dow, Jr. as to Hardy Lee
Browner: at 9:30 a.m. Please use the Court's toll−free call−in number 8773361829,
conference access code is 6963747. Without objection, time is excluded through
8/20/2020 under the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A) based on the Court's
finding that the ends of justice served by the exclusion of time outweigh the interests of
the parties and the public in a speedy trial given the need to protect the health and safety
of defendants, defense counsel, prosecutors, court staff, and the public by reducing the
number of inperson hearings to the greatest extent possible. Mailed notice (cdh, )




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